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                              CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES - GENERAL
  Case             CV 09-05356 AHM (RCx)                            Date           November 12, 2009
  No.
  Title            Tobin v. Transamerica Life Insurance Co.




  Present: The                  A. Howard Matz
  Honorable
                   S. Eagle                                  N/A
                 Deputy Clerk                    Court Reporter / Recorder                 Tape No.
            Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                      No Appearance                                        No Appearance
  Proceedings:                In Chambers

 I.       INTRODUCTION

        On June 19, 2009 Plaintiffs Diane Tobin (“Tobin”) and Theodore Liebovich
 (“Liebovich”) (together, “Plaintiffs”) filed a Complaint in California state court
 against Defendant Transamerica Life Insurance Company (“Defendant”). On July
 23, 2009, pursuant to 28 U.S.C. § §1332, 1441, and 1446, on the grounds that there
 is complete diversity between Plaintiffs, who are citizens of the State of California,
 and Defendant, who is a citizen of the State of Iowa, Defendant removed the action
 to this Court.

        On August 11, 2009, Defendant brought a motion to dismiss the Complaint
 and the three causes of action stated therein on the grounds that the each failed to
 state a claim upon which relief can be granted (“Motion to Dismiss”). Fed. R. Civ.
 P. 12(b)(6). On September 1, 2009, Plaintiffs filed their opposition to Defendant’s
 motion to dismiss, requesting that this Court deny Defendant’s motion to dismiss
 (“Opposition”). On September 14, 2009, Defendant filed a reply to Plaintiffs’
 opposition, requesting that this Court dismiss Plaintiffs’ three causes of action, all
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 with prejudice (“Reply”).
       For the foregoing reasons, the Court GRANTS Defendant’s motion to
 dismiss Plaintiffs’ Complaint, but with leave to amend.

 II.      FACTUAL BACKGROUND

        Plaintiff Tobin alleges that she is a Trustee of the Theodore and Shirley
 Liebovich Irrevocable Trust. (Compl. ¶1.) Plaintiff Tobin alleges that on July 24,
 1991, she was issued, “as owner,” a life insurance policy (“Policy”) by Defendant.
 (Compl. ¶5.) Plaintiff Liebovich alleges that he is one of the lives insured under
 the Policy. (Compl. ¶11.)1 Plaintiffs allege that, pursuant to the Policy provisions,
 after the first five years of the Policy, they were given the right to vary the amount
 of the premiums due under the Policy and how often the premiums were paid.
 (Compl. ¶17; Ex. A at 2, 10.) Plaintiffs allege that the Policy made clear that if it
 had insufficient accumulation value to cover monthly deductions made by
 Defendant, Plaintiff Tobin would be notified and given 31 days to make the
 necessary premium payment to prevent the Policy from lapsing. (Compl. ¶42; Ex.
 A at 10.) Plaintiff Tobin alleges that on July 30, 2008, Defendant sent her a notice
 warning her that the Policy was in danger of lapsing, requesting a premium
 payment of $12,512.64 to keep the Policy in force, and giving her 31 days to pay
 (“Notice”). (Compl. ¶33; Ex. A.) Plaintiff Tobin alleges that she did not pay the
 premium requested by the Notice and on October 22, 2008, received a letter from
 Defendant stating that the Policy had lapsed. (Compl. ¶40; Ex. C.) Plaintiffs
 allege that this letter was “erroneously based on a purported failure to pay an
 increase in premiums which was not in effect [because] the notice requirements of


          1
         Plaintiff Liebovich alleges that he sues to enforce the rights of himself and as
 representative of his wife Shirley Liebovich, whose life is jointly insured with his under the
 terms of the Policy, but who is not a party to this action. (Compl. ¶11.)
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 [California] Insurance Code §10113.7 for increase in premiums had not been
 complied with.” (Compl. ¶41.)
        Plaintiffs allege that on October 28, 2008, after having received notice that
 the Policy had lapsed, they applied to reinstate the Policy and submitted to
 Defendant the information required to process a reinstatement request for both
 Plaintiff Liebovich and Mrs. Liebovich. (Compl. ¶47.) Plaintiffs allege that, under
 the Policy, the procedure for reinstatement requires that certain conditions be
 satisfied by the insured.2 (Compl. ¶46.) Plaintiffs allege that on January 5, 2009,
 Defendant denied their reinstatement request. (Compl. ¶48.) Plaintiffs allege that,
 thereafter, they requested that “all material facts concerning the reinstatement
 decision be provided to them.” Id. Plaintiffs allege that on January 28, 2009,
 Defendant sent both Plaintiff Liebovich and Mrs. Liebovich a letter explaining why
 their requests were denied.3 Id.

       On June 19, 2009, Plaintiffs brought suit against Defendant alleging three
 causes of action: (1) breach of contract; (2) to void a forfeiture; and (3) breach of
 the implied covenant of good faith and fair dealing.

 III.     LEGAL STANDARDS GOVERNING RULE 12(b)(6) MOTIONS

          2
         As discussed, infra, the fourth condition of the reinstatement procedure requires the
 insured to present “[e]vidence of insurability satisfactory to [Defendant].” (Compl., Ex. A at
 11.)
          3
          In the letter to Plaintiff Liebovich, Defendant wrote “[o]ur decision [not to reinstate] was
 influenced by information received from Dr. Herbert Stein regarding your medical history of
 referral for colonoscopy and abnormal labs which is considered significant for insurance
 purposes.” (Compl., Ex. D.) In the letter to Mrs. Liebovich, Defendant wrote “[o]ur decision
 [not to reinstate] was influenced by information received from Dr. Herbert Stein regarding your
 medical history of 2/08 admittance to Garden of Palms and worsening memory which is
 considered significant for insurance purposes.” (Compl., Ex. E.)
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        On a motion to dismiss pursuant to Rule 12(b)(6) of the Federal Rules of
 Civil Procedure for failure to state a claim, the allegations of the complaint must be
 accepted as true and are to be construed in the light most favorable to the
 nonmoving party. Wyler Summit P’ship v. Turner Broad. Sys., Inc., 135 F.3d 658,
 661 (9th Cir. 1998). A Rule 12(b)(6) motion tests the legal sufficiency of the
 claims asserted in the complaint. Thus, if the complaint states a claim under any
 legal theory, even if the plaintiff erroneously relies on a different legal theory, the
 complaint should not be dismissed. Haddock v. Bd. of Dental Examiners, 777 F.2d
 462, 464 (9th Cir. 1985).

          Federal Rule of Civil Procedure 8(a)(2) requires

                   only “a short and plain statement of the claim showing
                   that the pleader is entitled to relief,” in order to “give the
                   defendant fair notice of what the . . . claim is and the
                   grounds upon which it rests[.]” . . . While a complaint
                   attacked by a Rule 12(b)(6) motion to dismiss does not
                   need detailed factual allegations . . ., a plaintiff’s
                   obligation to provide the “grounds” of his “entitle[ment]
                   to relief” requires more than labels and conclusions, and
                   a formulaic recitation of the elements of a cause of action
                   will not do . . . . Factual allegations must be enough to
                   raise a right to relief above the speculative level . . . .

 Bell Atlantic Corp. v. Twombly, 127 S. Ct. 1955, 1964-65 (2007) (internal citations
 omitted).

       “Two working principles underlie . . . Twombly.” Ashcroft v. Iqbal __ U.S.
 __, 129 S. Ct. 1937, 1949 (2009). “First, the tenet that a court must accept as true
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 all allegations contained in a complaint is inapplicable to legal conclusions.
 Threadbare recitals of elements of a cause of action, supported by mere conclusory
 statements, do not suffice . . . Second, only a complaint that states a plausible
 claim for relief survives a motion to dismiss.” Id. at 1949-50. “A claim has facial
 plausibility when the plaintiff pleads factual content that allows the court to draw
 the reasonable inference that the defendant is liable for the misconduct alleged. . . .
 The plausibility standard is not akin to a ‘probability requirement,’ but it asks for
 more than a sheer possibility that defendant has acted unlawfully.” Id. at 1949.
 “Determining whether a complaint states a plausible claim for relief . . . [is] a
 context-specific task that requires the reviewing court to draw on its judicial
 experience and common sense.” Id. at 1950.

        “Generally, a district court may not consider any material beyond the
 pleadings in ruling on a Rule 12(b)(6) motion. . . . However, material which is
 properly submitted as part of the complaint may be considered” on a motion to
 dismiss. Hal Roach Studios, Inc. v. Richard Feiner & Co., 896 F.2d 1542, 1555
 n.19 (9th Cir. 1990) (citations omitted). Documents whose contents are alleged in
 a complaint and whose authenticity no party questions, but which are not
 physically attached to the pleading, may be considered in ruling on a Rule 12(b)(6)
 motion to dismiss without converting the motion to dismiss into a motion for
 summary judgment. Lee v. City of Los Angeles, 250 F.3d 668, 689 (9th Cir. 2001).
 If the documents are not physically attached to the complaint, they may be
 considered if their “authenticity . . . is not contested” and “the plaintiff’s complaint
 necessarily relies” on them. Parrino v. FHP, Inc., 146 F.3d 699, 705-06 (9th Cir.
 1998). Furthermore, under Fed. R. Evid. 201, a court may take judicial notice of
 “matters of public record.” Mack v. South Bay Beer Distribs., 798 F.2d 1279, 1282
 (9th Cir. 1986), abrogated on other grounds by Astoria Fed. Sav. & Loan Ass’n v.
 Solimino, 501 U.S. 104 (1991). “The district court will not accept as true pleading
 allegations that are contradicted by facts that can be judicially noticed or by other
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 allegations or exhibits attached to or incorporated in the pleading.” 5C Wright &
 Miller, Fed. Prac. & Pro. § 1363 (3d ed. 2004).
        Where a motion to dismiss is granted, a district court should provide leave to
 amend unless it is clear that the complaint could not be saved by any amendment.
 Manzarek v. St. Paul Fire & Marine Ins. Co., 519 F.3d 1025, 1031 (9th Cir. 2008)
 (citation omitted). Federal Rule of Civil Procedure 15(a) advises that the “court
 should freely give leave [to amend the complaint before trial] when justice so
 requires.” “This policy is to be applied with extreme liberality” to comply with the
 underlying purpose of facilitating decisions on the merits. Eminence Capital, LLC
 v. Aspeon, Inc., 316 F.3d 1048, 1051 (9th Cir. 2003 (per curiam) (internal citations
 omitted).

 IV.      ANALYSIS

          A.       Plaintiff Liebovich’s Standing

        Defendant contends that this Court should dismiss Plaintiff Liebovich’s
 causes of action because he was not in privity of contract with Defendant, and
 therefore lacks standing to assert claims for relief for breach of contract or breach
 of the implied covenant of good faith and fair dealing against Defendant. (Motion
 at 4-5.) Plaintiff Liebovich argues that he has standing because his life is insured
 by the Policy, because he signed the Policy and because he paid premiums on the
 Policy. (Opposition at 21-22.)

       It is clear that “[o]nly parties in privity of contract have standing to sue under
 a contract.” Grant v. State Farm Life Ins. Co., 2007 WL 3119738, at *3 (E.D. Cal.




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 Oct. 23, 2007) (applying California law) (internal citation omitted).4 Accordingly,
 “only insureds and their beneficiaries have standing to sue for damages resulting
 from an insurer’s withholding of policy benefits from an insured.” Austero v Nat’l.
 Cas. Co., 62 Cal. App. 3d 511, 515-16 (Cal. Ct. App. 1978). The Complaint alleges
 that Plaintiff Tobin is the owner of the Policy and that Plaintiff Liebovich’s life is
 insured under the policy. He is suing to enforce his interest as a covered insured
 and has standing to do so. The Court DENIES this basis for Defendant’s motion to
 dismiss Plaintiff Liebovich’s claims.

          B.      Breach of Contract (First Cause of Action)


        Defendant contends that this Court should dismiss Plaintiffs’ breach of
 contract claim because it fails to allege facts sufficient to support a finding that
 Defendant breached the Policy. In California, a cause of action for breach of
 contract must allege four elements: (1) the existence of a valid contract between the
 parties; (2) plaintiff’s performance or excuse for nonperformance; (3) defendant’s
 unjustified or unexcused failure to perform; and (4) damages to plaintiff caused by
 the breach. Foley v. Bates, 2007 WL 1430096, at *4 (N.D. Cal. May 14, 2007)
 (citing Lortz v. Connell, 273 Cal. App. 2d 286, 290 (Cal. Ct. App. 1969)).

       First, Plaintiffs allege that Defendant “adjusted the premiums to be paid”
 without giving notice to Plaintiffs and therefore breached the Policy by “failing to
 comply with California Insurance Code §10113.7 when making requests for
 payment of an increase in life insurance premiums.” (Compl. ¶59.A.) Section
 10113.7, states that any “increase of premium on an individual life insurance policy

          4
         The parties do not dispute that the Policy at issue in this lawsuit is governed by
 California law.
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 that provides for premium changes by the insurer is not effective unless written
 notice is delivered to the policyholder...not less than 20 days prior to the effective
 date of the increase.” Cal. Ins. Code §10113.7 (emphasis added).5


         The Policy contains two primary payment requirements: First, the Policy
 requires the policy owner to pay “at least the minimum premium per year during the
 first 5 policy years.” (Compl., Ex. A at 2, 3, 10.) Second, the Policy makes clear
 that after the first five years, the owner “may vary the amount of premiums” and
 how often the premiums are paid. It also provides that Defendant will “accept any
 amount [the owner] [sends] as a premium payment while the policy is in force.” Id.

          5
           Section 10113.7 in its entirety reads:
         (a) An increase of premium on an individual life insurance policy that provides for
 premium changes by the insurer is not effective unless written notice is delivered to the
 policyholder, or mailed to his or her last known address as shown by the records of the insurer,
 not less than 20 days prior to the effective date of the increase. If the notice is sent with or
 contained as part of an ordinary premium or renewal invoice or payment request, the notice of
 increase shall be prominently displayed and stated separately from the ordinary statement of the
 amount due.


          (b) This section shall not apply to premium increases resulting directly from changes in
          coverage requested by the policyholder, or when the insurer has previously disclosed, in
          writing, either at the time the policy was issued or during the life of the contract, a
          specific date of change of premium, and the new premium amount.


          (c) Nothing in this section shall be construed to limit application of any other provision
          of law, nor shall it be construed to prevent application of any contractual provision
          affording greater rights to the policyholder.

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 at 2, 10 (emphasis added). Under the Policy, Defendant is required to provide
 Plaintiff Tobin with a statement at least once a year showing the value of the policy,
 the premiums and charges to date. Id. at 18. The policy remains in force for sl long
 as there is enough remaining in “accumulated value” of premiums to enable
 Transamerica to withdraw a “monthly deduction.” The Policy also states that if its
 accumulated value is insufficient to cover the monthly deductions, the policy owner
 must make a payment sufficient to cover the deficiency, or the Policy will lapse. Id.
 at 10. If additional payments are necessary, the Policy describes the formulas on
 which Defendant relies to calculate the required amounts. Id. at 10-12.
         Defendant contends that the plain language of §10113.7 indicates that it
 applies to policies with fixed premium payments that an insurer wishes to increase.
 As the language of the Policy indicates, however, premiums are flexible and within
 the policy owner’s control. It was Plaintiff’s failure to make a payment sufficient to
 cover the monthly deductions that caused the Policy to lapse, not an increase in any
 sort of fixed premium payment determined by Defendant. Thus, argues Defendant,
 the policy is not subject to §10113.7.


         In their Opposition (but not the complaint) Plaintiffs attempt to equate the
 Policy’s monthly deductions with premiums in order to argue that the Policy is
 subject to §10113.7. (Opposition at 2-6, (“The monthly premium actually charged
 to the insureds...primarily consists of the ‘Monthly Deduction.’”) Here is how
 plaintiffs put it:


          The policy issued to plaintiffs gives Transamerica the right to use any
          “Monthly Deduction Rate” so long as it does not exceed the “Guaranteed
          Monthly Deduction Rate.” (Policy, “Monthly Deduction Rages,” page 8,
          second para.) That policy provision leaves to Transamerica the right to
          change the “premium.” The amount of premium is a direct function of how
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           much money Transamerica will be taking from accumulated policy funds for
           itself each month from the money the insureds have paid in premiums. That
           right to change the amount that Transamerica may take from premiums is a
           part of the “flexible premiums” described in the policy. (Policy,
           “Premiums,” page 6, para. 3, “You may part premiums at any time, but only
           if the amount of each premium is at least $25.” See also “Policy Summary” -
           “After that [5 years] you may vary the amount of premiums and how often
           you pay them, within certain limits.” Policy, page 1A.) The premium is
           flexible; it changes as the cost of insurance, the amount the insurer may take
           out of monthly premiums or accumulated funds, changes. The cost of
           insurance is primarily the “Monthly Deduction.” Change the amount of that
           “Monthly Deduction,” which the insurer is authorized to take out and the
           insurer changes the premium. Transamerica retained the right to make such
           changes in the premium. The policy states that Transamerica “. . . will
           determine the monthly deduction rate for each policy year at the beginning of
           that year.” (Policy, page 6, above.)


 This argument fails because the Policy clearly differentiates between monthly
 deductions, which it defines as the amount Defendant “withdraws from the
 accumulation value at the end of each policy month,” and premiums, which as
 discussed, supra, are set by the policy owner. (Compl., Ex. A at 2, 4, 7 and 10.)
 Furthermore, the Policy’s definitions of premiums do not reference the monthly
 deductions other than to state that when the value of the policy is insufficient to
 cover the monthly deductions, the owner is required to make a payment sufficient to
 cover the deficiency, or else the policy will lapse. Id. at 10.




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        Second, Plaintiffs allege that Defendant breached the Policy by failing to
 notify them that the “grace period”6 had begun. The Policy required Defendant to
 notify Plaintiff Tobin that if the Policy went into the grace period, she was required
 to “pay a premium large enough to keep the Policy in force before the 31 days are
 up,” and that if she failed to “pay enough of a premium, and [the Policy had] no net
 cash value, [the] Policy [would] lapse.” (Compl., Ex. A at 10.) In the Notice,
 Defendant informed Plaintiff Tobin, “[y]our valuable life insurance policy is in
 danger of lapsing. The accumulation value is no longer sufficient to cover the cost
 of the insurance.” (Compl., Ex. B.) The Notice indicated the specific deficiency
 and that Plaintiff Tobin had to pay $12,312.64 to maintain the Policy, and went on
 to warn “[p]lease note that we must receive your premium payment no later than
 August 31, 2008.” Id.


        Plaintiffs argue that Defendant breached the Policy by not using the specific
 word “grace period” in the Notice. This argument fails. The Policy does not
 require Defendant to use the specific term “grace period.” Plaintiffs nevertheless
 argue that the Policy “should be read as a layman would read it and not as it might
 be analyzed by an attorney or insurance expert.” (Opposition at 13; Crane v. State
 Farm Fire & Cas. Co., 5 Cal. 3d 112, 115 (1971).) Even so, based on the plain
 language in the Policy, what a layman would expect is that Defendant would send
 the promised notification, not that the notice would necessarily contain the specific
 term “grace period.” In short, the notice satisfies the Policy’s requirements, as it
 informed Plaintiff Tobin that the accumulation value of the policy was insufficient
 to cover the monthly deduction or cost of the insurance and that she had 31 days in
 which to pay the additional premium necessary to prevent the Policy from lapsing.

           6
         Under the Policy, “grace period” is defined as “a period of 31 days after a monthly date
  when the accumulation value minus any loan is less than the monthly deduction due. . .”
  (Compl., Ex. A at 10.)
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 Thus, Plaintiffs have failed to allege facts sufficient to support a finding that
 Defendant breached the Policy by failing to comply with its notification
 requirements.


        Therefore, this Court GRANTS Defendant’s motion to dismiss the breach of
 contract cause of action. Plaintiffs are given leave to amend, if consistent with Rule
 11 and this ruling they can frame a tenable claim for breach of contract. See
 Manzarek v. St. Paul Fire & Marine Ins. Co., 519 F.3d 1025, 1031 (9th Cir. 2008)
 (citation omitted).


           C.      “Void a Forfeiture” (Second Cause of Action)


        In their second cause of action, Plaintiffs allege that Defendant’s wrongful
 conduct caused the Policy to be forfeited and ask the Court to “void” this forfeiture.
 (Compl. ¶ ¶ 64-73.) Defendant seeks dismissal of this cause of action because it is
 a remedy, not an independent cause of action. Plaintiffs contend that case law and
 California Civil Code §3275 provides a basis for a cause of action of “void of
 forfeiture” in that they provide an “action for equitable relief to void or set aside a
 forfeiture.” §3275 is titled “[r]elief in case of forfeiture” and provides that
 whenever a party to an obligation “incurs a forfeiture, or a loss in the nature of a
 forfeiture, by reason of his failure to comply with its provisions, he may be relieved
 therefrom, upon making full compensation to the other party, except in case of a
 grossly negligent, willful, or fraudulent breach of duty.” Cal. Civ. Code §3275.
 None of the cases on which Plaintiffs rely states that a cause of action described as
 “void of forfeiture”exists. Crump v. Northwestern National Life Ins. Co., 236 Cal.
 App. 2d 149, 151-53 (Cal. Ct. App. 1965) (holding that in an action for declaratory
 relief “[f]orfeitures, particularly in insurance contracts, are not favored”); Kwan v.
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 Mercedes Benz of No. America, 23 Cal. App. 4th 174, 185 (Cal. Ct. App. 1994)
 (holding where Plaintiff alleged a “violation of the refund-or-replace provision of
 the Song-Beverly Consumer Warranty Act,” that “for purposes of relief from
 forfeiture. . .failure to make a required payment, although intentional, might not be
 ‘willful’ where obligor reasonably disputed whether the payment was in fact
 owed”); Crofoot v. Weger, 109 Cal. App. 2d 839, 840-41 (Cal. Ct. App. 1952)
 (holding that in a breach of contract action, only “[b]y the prayer” did plaintiffs
 seek “to be relieved of the forfeiture”); Gonzalez v. Hirose, 33 Cal. 2d 213, 216-17
 (Cal. 1948) and Barkis v. Scott, 34 Cal. 2d 116, 123 (1949) (both holding that relief
 from forfeiture may be appropriate in an action for quiet title); Freedman v. Rector,
 Wardens & Vestrymen of St. Matthias Parish, 37 Cal.2d 16, 20-21 (Cal. 1951)
 (holding that relief from forfeiture may be appropriate in an action for breach of
 contract).


        Therefore, because “void a forfeiture” is not an independent cause of action,
 this Court GRANTS Defendant’s motion to dismiss this cause of action, but with
 leave to amend to seek such relief as a remedy for substantive violations.


           D.      Breach of the Implied Covenant of Good Faith and Fair Dealing
                   (Third Cause of Action)


        Plaintiffs contend that Defendant breached the implied covenant of good faith
 and fair dealing (“implied covenant”) by wrongfully allowing the Policy to lapse
 and then arbitrarily declining Plaintiffs’ application for reinstatement. (Opposition
 at 21.) “[I]nsurance contracts include an implied covenant of good faith and fair
 dealing,” which is breached when “something more than a breach of the contract or
 mistaken judgment” is involved. Century Sur. Co. v. Polisso, 139 Cal. App. 4th
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 922, 948-49 (Cal. Ct. App. 2006). Thus, to establish a claim for breach of the
 implied covenant, an insured must show that: “(1) benefits due under the policy
 were withheld and (2) the reason for withholding the benefits was unreasonable or
 without proper cause.” Id. at 949 (internal citation omitted). The implied covenant
 may not “prohibit a party from doing that which is expressly permitted by an
 agreement.” Carma Developers (Cal.) Inc., v. Marathon Dev. Cal., 2 Cal. 4th 342,
 374 (Cal. 1992).


        Plaintiffs contend that Defendant breached the Policy, and thereby the
 implied covenant by “wrongfully declaring and treating” the Policy as having
 lapsed and by “denying the continued existence of the Policy.” (Compl.¶59;
 Opposition at 21.) This argument fails. As discussed, supra, the Policy states
 clearly that if Plaintiffs did not pay sufficient premiums by a specific date, the
 Policy would lapse. (Compl. ¶ ¶59.C-D.) Plaintiffs do not dispute that they failed
 to pay the requested premiums by the specific date. Furthermore, their request to
 reinstate the policy recognized that it had lapsed. Thus, Plaintiffs have failed to
 allege facts sufficient to support a finding that Defendant breached the Policy, and
 thereby the implied covenant, by declaring that the Policy had lapsed.


        Plaintiffs also contend that Defendant breached the policy, and thereby the
 implied covenant, by “failing and refusing to reasonably provide [them] with the
 Right to Reinstatement.” (Compl. ¶59; Opposition at 21.) Under the Policy,
 reinstatement of a lapsed policy is subject to certain conditions. (Compl., Ex. A at
 11.) The fourth condition (“Condition 4”) requires the insured to present
 “[e]vidence of insurability satisfactory to [Defendant].” 7 Id. The Complaint

           7
          Reinstatement requirements similar to this condition have been upheld. See Kennedy
  v. Occidental Life Ins. Co., 18 Cal.2d 627, 635 (1941) (holding that a denial of a request for
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 alleges that after the Policy lapsed, Plaintiff Liebovich applied for reinstatement on
 behalf of himself and Mrs. Liebovich. (Compl. ¶47.) On January 5, 2009,
 Defendant denied reinstatement. (Compl. ¶48.) On January 28, 2009, Defendants
 wrote a letter responding to Plaintiff and Mrs. Liebovich’s request for an
 explanation as to why reinstatement was denied. (Compl., Exs. D-E.) Defendant
 told Plaintiff Liebovich that it decided not to reinstate the Policy with respect to him
 because his medical history of “abnormal labs” was “considered significant for
 insurance purposes.” (Compl., Ex. D.) Defendant told Mrs. Liebovich that it had
 decided not to reinstate the Policy with respect to her because her medical history
 indicated a “worsening memory which is considered significant for insurance
 purposes.” (Compl., Ex. E.) Plaintiffs have failed to allege facts to support their
 argument that those denials of reinstatement were arbitrary or that the reasoning
 behind them was inadequate. But this Court believes they may be able to do so.
 What Transamerica appears to have done here comes close to being reprehensible.
 It received a huge amount of premium payments over a lengthy period and then
 when these elderly insured failed to respond to the notice of a pending lapse,
 Transamerica pulled the proverbial plug. In the context of medical and health
 insurance, comparable practices by insurance companies have been widely (and




 soundly) blasted as unacceptable and contrary to the public interest. Perhaps these
 plaintiffs can state a better claim, so they are given leave to amend.



  reinstatement under a “satisfactory evidence of insurability” clause will be upheld so long as the
  insurer does not act “arbitrarily or capriciously” and as long as the evidence submitted “would be
  satisfactory to a reasonable insurer.”).
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           No hearing is necessary. Fed. R. Civ. P. 78; L.R. 7-15.

 IT IS SO ORDERED.




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